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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      2/17/2021

 United States of America,

                –v–
                                                                                 18-cr-224 (AJN)
 Ali Sadr Hashemi Nejad,
                                                                                     ORDER
                        Defendant.




ALISON J. NATHAN, District Judge:

       On September 16, 2020, the Court ordered the prosecutors involved in this case to file

declarations concerning apparent prosecutorial misconduct so that the Court could determine

whether further fact-finding was required. Dkt. No. 379. The Court sets out its reasoning in

more detail in an Opinion concurrently filed under temporary seal to allow the prosecutors an

opportunity to propose limited redactions. It summarizes its conclusions and orders below.

       The Government’s prosecution of Mr. Sadr for alleged evasion of sanctions against Iran

was marred by repeated failures to disclose exculpatory evidence and misuse of search-warrant

returns. These errors were so severe that following a jury verdict in its favor, the Government

determined that further prosecution of the case would not be in the interests of justice. On the

joint request of the parties, the Court vacated the jury verdict and dismissed the charges against

Mr. Sadr with prejudice.

       The Court chronicled this extraordinary saga in its prior Opinion in this case dated

September 16, 2020. See United States v. Nejad, No. 18-cr-224 (AJN), 2020 WL 5549931

(S.D.N.Y. Sept. 16, 2020). In that Opinion, the Court focused primarily on a document marked

as GX 411 that the Government did not disclose until days into trial and that it now concedes had
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exculpatory value. Once prosecutors realized that GX 411 had not been timely disclosed, they

sought to “bury it” in a list of previously disclosed documents. When the Court ordered the

Government to explain whether it had informed the defense that GX 411 was a newly disclosed

document, the Government falsely implied that it had.

       To develop a record, the Court directed the prosecutors in its September 16 Opinion to

submit declarations under penalty of perjury detailing the circumstances of the late disclosure

and the misrepresentation to the Court. In particular, the Court had continuing questions about

whether prosecutors’ disclosure violations or misstatements were intentional. The Court then

requested briefing on whether a further evidentiary hearing was necessary.

       The prosecutors have requested that their declarations and the exhibits be maintained

under seal. See Dkt. Nos. 383–87, 394–95. Mr. Sadr and two press organizations oppose

sealing. See Dkt. Nos. 389, 394, 388, 393. Astonishingly, even in its latest filings, the

Government has informed the Court of yet another failure of disclosure in this case related to the

FBI’s review of raw state search-warrant returns.

       The Court remains of the view expressed in its September 16 Opinion that the disclosure

failures and misrepresentations in this case represent grave derelictions of prosecutorial

responsibility. However, based on the record before it, the Court does not conclude that any of

the prosecutors knowingly withheld exculpatory information or intentionally misrepresented

facts to the Court. In light of this, and given the systemic nature of the errors and misconduct

that occurred in this case, the Court will not engage in further fact-finding. Instead, the Court

urges a full investigation by DOJ’s Office of Professional Responsibility of all matters related to

prosecutorial misconduct in this case. It is the Court’s hope that reforms adopted by the United



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States Attorney’s Office, coupled with a full investigation by OPR, will ensure that the

Government’s errors in this case are not repeated.

       Beyond this, accountability and reform can also come from sunlight. The prosecutorial

misconduct in this case is of exceptional public interest, bearing both on the fair administration

of justice for criminal defendants and the efficacious prosecution of violations of federal law.

The Court concludes that the public interest in access to the prosecutor declarations, exhibits, and

party letters in this case outweighs the privacy interests of those involved, and so orders release

of substantially all of those materials.

       The Court thus ORDERS as follows:

   1. The Court does not find that the prosecutors intentionally withheld documents from the
      defense or intentionally misled the Court, and thus will not engage in further fact-finding
      related to attorney misconduct.
   2. The Court urges a full investigation by the Office of Professional Responsibility.
   3. The Court GRANTS the motions of the press organizations to intervene and DENIES in
      predominant part the prosecutors’ applications to seal.
   4. The Court ORDERS the Government to submit a status report within six months
      concerning the FBI’s use of raw search-warrant returns.

       The Court will permit the prosecutors to propose limited redactions to the Court’s

Opinion concurrently filed under temporary seal and their filings related to prosecutorial

misconduct. Any proposed redactions shall be consistent with the principles set forth in the

Court’s concurrently filed Opinion and shall be justified by reference to the Second Circuit’s

decision in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). Proposed

redactions to the Opinion must be submitted on or before February 19, 2021. Proposed

redactions to the other filings must be submitted on or before February 24, 2021.

       SO ORDERED.


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Dated: February 17, 2021                  __________________________________
       New York, New York                         ALISON J. NATHAN
                                                United States District Judge




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